            Case 1:19-cv-00657-RC Document 127 Filed 12/08/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

E.M.                                               :
                                                   :
       Plaintiff,                                  :         Civil Action No.:     19-00657 (RC)
                                                   :
       v.                                          :         Re Document No.:      126
                                                   :
SHADY GROVE REPRODUCTIVE                           :
SCIENCE CENTER, P.C.,                              :
                                                   :
       Defendant.                                  :

                                                ORDER

       Upon consideration of Plaintiff’s Consent Motion to Stay (ECF No. 126), it is hereby

ORDERED that the above-captioned case is referred to the Office of the Circuit Executive for

the purpose of mediation pursuant to the District of Columbia Circuit Mediation Program. The

parties are to contact the Circuit Executive’s Office jointly to schedule the mediation. Counsel

and parties, including persons with settlement authority, are to participate in the mediation. If

the case settles in whole or in part by January 23, 2024, counsel shall advise the Court of the

settlement promptly by filing a stipulation. It is further

       ORDERED that the parties shall attend a status conference on January 23, 2024 at

9:30AM by Zoom Video, to inform the Court of the status of the case; and

       ORDERED that the Clerk of the Court shall furnish a copy of this Order to the Circuit

Executive’s Office for the purpose of assigning Robert Fisher, who has indicated that he is

available to mediate the case, as a mediator.

       SO ORDERED.


Dated: December 8, 2023                                               RUDOLPH CONTRERAS
                                                                      United States District Judge
